
225 S.W.3d 131 (2005)
In the Matter of A.R.B., a Juvenile.
No. 08-04-00137-CV.
Court of Appeals of Texas, El Paso.
August 31, 2005.
M. Clara Hernandez, El Paso County Public Defender, El Paso, for Appellant.
Jose R. Rodriguez, County Atty., El Paso, for Appellee.
Before BARAJAS, C.J., McCLURE, and CHEW, JJ.

OPINION
ANN CRAWFORD McCLURE, Justice.
A.R.B., a juvenile, appeals from the juvenile court's disposition order placing her on supervised probation outside the home. On July 8, 2003, A.R.B. was adjudicated guilty of delinquent conduct based on delivering and selling marijuana. After a disposition hearing, A.R.B. was placed on probation. On February 4, 2004, the State filed a motion to modify disposition alleging A.R.B. left the electronic monitoring premises without permission of the court, used alcohol or a controlled substance, and associated with negative peers.
On February 5, 2004, A.R.B. admitted that she left the monitoring premises without permission on December 24, 2003 and January 15, 2004, used marijuana August 20, 2003, and associated with a negative peer on November 7, 2003 and December 16, 2003. A.R.B. was placed under home detention. On February 17, 2004, A.R.B.'s probation officer sent a letter to the court stating that A.R.B. had been violating the *132 home detention order and associating with a negative peer. Following disposition, the court found that A.R.B. should be placed on supervised probation outside her home at Seton Home in San Antonio.
Appellant's court-appointed counsel has filed a brief in which she has concluded that the appeal is wholly frivolous and without merit. The brief meets the requirements of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87 S.Ct. 2094, 18 L.Ed.2d 1377 (1967), by advancing one contention which counsel says might arguably support the appeal. See High v. State, 573 S.W.2d 807 (Tex.Crim.App. 1978); Currie v. State, 516 S.W.2d 684 (Tex.Crim.App.1974); Jackson v. State, 485 S.W.2d 553 (Tex.Crim.App.1972); Gainous v. State, 436 S.W.2d 137 (Tex.Crim. App.1969). The procedures established in Anders apply to juvenile appeals. In re D.A.S., 973 S.W.2d 296, 297 (Tex.1998).
A copy of counsel's brief has been delivered to A.R.B., and she has been advised of her right to examine the appellate record and file a pro se brief. No pro se brief has been filed. We have carefully reviewed the record and counsel's brief and agree that the appeal is wholly frivolous and without merit. Further, we find nothing in the record that might arguably support the appeal. A further discussion of the arguable ground advanced in counsel's brief would add nothing to the jurisprudence of the state. The judgment is affirmed.
